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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:09CR104
       vs.                                 )
                                           )                       ORDER
PEDRO ROMERO,                              )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO EXTEND TIME IN WHICH TO
FILE PRETRIAL MOTIONS [19]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 32-day extension. Pretrial
Motions shall be filed by May 29, 2009.

       IT IS ORDERED:

       1.    Defendant's MOTION TO EXTEND TIME IN WHICH TO FILE PRETRIAL MOTIONS [19]
is granted. Pretrial motions shall be filed on or before May 29, 2009.

        2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between April 27, 2009 and May
29, 2009, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 28th day of April, 2009.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
